                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

    IN RE:

    MARY A. GORDON                                      Case No. 12-09605

             Debtor.

         ORDER AND NOTICE TO FILE CLAIMS AGAINST SURPLUS FUNDS

           It appears to the Court that the Trustee has sufficient funds to pay all
    allowed claims in full and that there are surplus funds remaining which may
    be distributed to creditors who have not filed their claims.
           It further appears to the Court that pursuant to Bankruptcy Rule 3003
    (c)(3), the Court may grant a reasonable extension of time for filing the
    claims against the surplus.
           WHEREFORE, it is hereby ORDERED that the ______day
    of___________, 2019, is fixed as the last day of the filing of claims against
    the surplus funds remaining after payment in full of all claims which have
    been filed and allowed.
           It is further ORDERED that claims which have been filed but have
    not been allowed because they were not filed prior to the bar date for filing
    claims shall be treated as having been filed against any surplus and need not
    be refiled.
    This order was signed and entered electronically as indicated at the top of the first page.



    Submitted for entry:


    /s/ T. Larry Edmondson____
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